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                                                                                        8      _____ RECEIVED
                                                                                  3:17 pm, Oct 21 2020
                                                                                  AT BALTIMORE
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  DISTRICT OF MARYLAND
 IN THE MATTER OF THE SEARCH OF                                                   BY ______________Deputy


 ONE UNITED STATES POSTAL                               Misc. No.   1:20-mj-2623 TMD
 SERVICE PARCEL LOCATED AT THE
 U.S. POSTAL INSPECTION SERVICE
 OFFICE IN COLUMBIA, MD



                     AFFIDAVIT IN SUPPORT OF APPLICATION
                  FOR A SEARCH WARRANT FOR US MAIL PARCELS

       Your Affiant, Brett A. Willyerd, United States Postal Inspector, Baltimore, MD, being

duly sworn, does hereby depose and state:

I.     Subject Parcels.

       1.      This is an Affidavit submitted in support of an Application for a Search Warrant for

one (1) United States Mail parcel, hereinafter “SUBJECT PARCEL” for evidence of violations of

21 U.S.C. § 841(a)(1) (Possession with Intent to Distribute a Controlled Dangerous Substance), 21

U.S.C. § 843(b) (Transportation of Controlled Dangerous Substances via the U.S. Mail), and 21

U.S.C § 846 (Conspiracy to Distribute a Controlled Dangerous Substance). The SUBJECT

PARCEL is currently located at the U.S. Postal Inspection Service office, in Columbia, Maryland.

The SUBJECT PARCEL is specifically identified in Attachment A, which is incorporated herein

by reference, and is identified as follows:

 Subject     Express (E)or Priority (P)       From:                    To:
 Parcel      and Tracking ID number           Name and Address         Name and Address

 1.          (P) 9405 5368 9784 6159          OCULUSCASES              William Byrum
             8711 55                          930 NE 147th St.         6542 Vaile Dr.
                                              Miami FL 33161           Elkridge, MD 21075-
                                                                       6662
             Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 2 of 8

                                                                                     1:20-mj-2623 TMD


II.     Affiant’s Training and Experience.

        2.      Your Affiant, Brett A Willyerd, has been a United States Postal Inspector since

April 2012. As part of my duties, I investigate the use of the United States Postal Service (“USPS”)

to illegally mail and receive controlled substances, the proceeds of drug trafficking, and

instrumentalities associated with drug trafficking, in violation of Title 21, United States Code,

Sections 841(a)(1) (distribution and possession with intent to distribute controlled substances) and

843(b) (unlawful use of a communication facility, including USPS, to facilitate the distribution of

controlled substances). I have participated in interdictions and controlled deliveries related to

narcotics investigations. I have completed United States Postal Inspection Service (USPIS) Basic

Inspector Training in Potomac, Maryland. I also have attended a one-week specialized training

course presented by the USPIS addressing narcotics investigations and current trends in narcotics

mailings. I have also received training on the identification of controlled substances, interdiction

of controlled substances and proceeds thereof. Prior to being a U.S. Postal Inspector I was a police

officer with the Manassas City Police Department in Virginia. As a result of my training and

experience, I am aware that Priority Mail Express, Priority Mail and First Class services are

regularly used by narcotic traffickers to ship controlled substances and bulk cash through the U.S.

Mail.

        3.      The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were relayed to me by persons with knowledge. This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known
               Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 3 of 8

                                                                                     1:20-mj-2623 TMD


to agents of the government.

III.      Characteristics Common to Packages that Contain Narcotics.

          4.       Based upon your Affiant’s training and experience in the field of narcotic

interdiction through the mails, I know that there are suspicious characteristics common to many

packages that contain narcotics, controlled substances or the proceeds thereof (i.e., US currency).

These factors, more fully detailed below, are used to identify packages requiring further

investigation. In the case of this search warrant, several of these factors were identified, and the

package was alerted to by the drug detection canine. The most common factors or suspicious

characteristics routinely observed in the course of screening packages are as follows:

                 a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the USPS offers Priority Mail Express and Priority Mail.

Priority Mail Express is guaranteed (money back) to be delivered on a set date and time, usually

overnight. (That deadline is determined at the time of mailing.) The customer receives a receipt

with this guaranteed information, and the sender can opt for a signature requirement at the other

end or not. Customers can track the parcel online by its distinct Priority Mail Express tracking

number. The weight of the package and the distance traveled are the two main factors in setting

the price. Priority Mail Express costs more than Priority Mail. Priority Mail has a delivery service

standard of 1-3 business days, but delivery within that time period is not guaranteed. Priority Mail

is a less expensive alternative to Priority Mail Express, but still provides the ability to track a

parcel.

          Legitimate businesses using Priority Mail Express typically have a business or corporate

account visible on the mailing label, which covers the cost of the mailing. In contrast, the drug
          Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 4 of 8

                                                                                        1:20-mj-2623 TMD


distributor will pay for the cost of mailing the package at the counter by using cash or a credit card.

Business Priority Mail Express parcels typically weigh no more than 8 ounces, and business

Priority Mail parcels typically weigh no more than 2 pounds. Drug packages typically exceed these

weights. Address labels on business parcels are typically typed, whereas those on drug packages

are typically handwritten.

       In my experience, it is fairly easy to separate out smaller parcels, which constitute 70% to

80% of all Priority Mail Express and Priority Mail parcels, from other, heavier parcels. Typically,

drug traffickers use Priority Mail Express, and will opt out of the requirement of obtaining a

signature upon delivery.

               b.       Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. I have seen packages sent by

persons with names of celebrities, cartoon characters, or fictional names. More often a search of a

law enforcement database reflects that there is no association between the name of the sender and

the address provided.

               c.       Invalid Recipient/Address: It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents. Sometimes drug packages are addressed to vacant properties with the
          Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 5 of 8

                                                                                        1:20-mj-2623 TMD


expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Washington, Colorado, Puerto Rico and Florida (among

others) can also indicate that the parcel contains controlled substances.

               e.      Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

               f.      Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, I have also

observed excessive glue on the flaps of narcotics parcels as well.

               g.      Click-N-Ship: The USPS created Click-N-Ship as a service for frequent

mailers and businesses who prefer printing address labels and purchasing postage from their

residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings. They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered “source”
            Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 6 of 8

                                                                                       1:20-mj-2623 TMD


states for controlled substances. The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       4.       It is your Affiant’s experience that when these factors are observed, a drug detection

K-9 will likely “alert,” next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors become a reliable way to profile the parcels being shipped

every day.

IV.    Probable Cause

       5.       On October 9, 2020, postal inspectors observed the SUBJECT PARCEL had the

following factors or suspicious characteristics are present in the SUBJECT PARCEL:

  Subject        From          Weight:         Label:         Senders      Recipients Canine
  Parcel         Source                                       name         name       Alert?
  Express or     State:                                       associated   associated
  Priority                                                    with         with
                                                              address?     address?
                                                              Yes / No     Yes / No
  1. Priority     Yes – FL      3 lbs 0 ozs    Typed              No           Yes       Yes - Riggs1


       6.       The suspicious characteristics listed above were identified while the SUBJECT

PARCEL was in the mail stream. Therefore, on October 9, 2020, the SUBJECT PARCEL above

was individually removed from the mail stream. At that point, law enforcement used standard

protocol for canine detection to determine whether there was probable cause that the SUBJECT

PARCEL contained narcotics. Specifically, after being removed from the mail stream, the

SUBJECT PARCEL was individually placed in a secure area next to several other empty and


       1
        “Riggs” was certified in August of 2019 to alert on odors of marijuana (THC), cocaine,
crack cocaine, ecstasy (MDMA), methamphetamine, and heroin. K-9 “Riggs” is trained on a
monthly basis to ensure his accuracy. Montgomery County Police Department Detective Scott
Carson is the handler for “Riggs”.
            Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 7 of 8

                                                                                     1:20-mj-2623 TMD


unused boxes at the U.S. Postal Inspection Service office in Columbia, Maryland. On October 9,

2020, a narcotic detection canine, “Riggs”, was brought forward to scan the group of boxes, which

included the individual SUBJECT PARCEL and the empty and unused boxes placed around the

SUBJECT PARCEL. The handler observed the canine and then informed agents whether the dog

alerted on the SUBJECT PARCEL. This process was used for the SUBJECT PARCEL listed

above. As indicated in the above chart, the drug detection dog alerted to the presence of the odor

of narcotics in connection with the SUBJECT PARCEL.

V. Conclusion

       7.      Your Affiant submits that, based on the above indicators reflected on the SUBJECT

PARCEL, my training and experience, and the alert of a trained canine on the package, there is

probable cause to believe that the SUBJECT PARCEL contains narcotics or controlled substances,

or the proceeds thereof (i.e., United States currency) and/or materials relating to the distribution

of controlled substances through the United States Mail.




                                              Brett A. Willyerd
                                              United States Postal Inspector


       Subscribed and sworn to before me this          day of October 2020.




                                              THOMAS M. DIGIROLAMO
                                              UNITED STATES MAGISTRATE JUDGE
          Case 1:20-mj-02623-TMD Document 3 Filed 10/21/20 Page 8 of 8

                                                                      1:20-mj-2623 TMD


                                     ATTACHMENT A

                   DESCRIPTION OF PARCELS TO BE SEARCHED

Subject    Express (E)or Priority (P)   From:              To:
Parcel     and Tracking ID number       Name and Address   Name and Address

1.         (P) 9405 5368 9784 6159      OCULUSCASES        William Byrum
           8711 55                      930 NE 147th St.   6542 Vaile Dr.
                                        Miami FL 33161     Elkridge, MD 21075-
                                                           6662
